                            EXHIBIT F




Case 20-04002-MJH   Doc 73-13   Filed 11/13/20   Ent. 11/13/20 21:51:27   Pg. 1 of 21
Christina Henry

From:             Christina Henry
Sent:             Monday, January 13, 2020 3:51 PM
To:               Robert McDonald; John McIntosh; Lance Olsen
Cc:               Ali Small; Tom Linde; IDSFC
Subject:          RE: HOOVER | RE: SULEIMAN | RE: TS# WA-18-835092-SW | RE: Sarah Hoover re stay violation for
                  void foreclosure



Counsel,

I recognize the court will sort this out, but I think we at least need to be in the same ballpark of
facts.

First, we understand that the deed was delivered before the 11 days were up. That sounds
like a flaw in the trustee's business practices, given the 11‐day window in the statute, but it is
not my client's problem that the trustee did this early.

Second, we understand that the sale would not have been held if the trustee had actual notice
of the bankruptcy. We get it. You can stop repeating that. The issue is that once the trustee
received notice, it did nothing, and it is the party upon which the burden rests to take
affirmative steps.

Third, you keep mentioning the social security number situation, which puzzles me. I
personally confirmed that my client used her SSN ‐ the correct one, and the only one she's
ever used ‐ to file this bankruptcy. This is the same SSN she sent to PHH, repeatedly. This is
not an issue of my client's concern.

Finally, I'm not clear that anyone understands this, but my client filed bankruptcy pro se in an
effort to save her home. She timely notified PHH ‐ repeatedly ‐ many days before the sale. It
sounds like PHH did not bother to inform the trustee. When the foreclosure sale ended up
happening anyway, Ms. Hoover was left with the futility of proceeding with the bankruptcy,
given her singular and most important asset had been sold from under her feet. The
insinuation that she "didn't comply" with anything is absurd. She did her best as a non‐lawyer,
but PHH could not be bothered, apparently, to call off its own sale. Thus, you may want to
check with your own client first before making accusations against mine.


Christina L. Henry, Attorney
Henry & DeGraaff, P.S.
787 Maynard Ave S
Seattle, Washington 98104
                                                       1


      Case 20-04002-MJH        Doc 73-13      Filed 11/13/20     Ent. 11/13/20 21:51:27       Pg. 2 of 21
Tel 206/330-0595
Fax 206-400-7609
chenry@HDM-legal.com


CONFIDENTIALITY NOTICE: This e-mail may contain information that is
protected by the attorney-client and/or the attorney-work product privilege. It is
intended only for the individual named above and the privileges are not waived
by virtue of this having been sent by e-mail. If you are not the intended recipient
ANY USE, DISSEMINATION, DISTRIBUTION OR COPYING OF THIS
COMMUNICATION IS STRICTLY PROHIBITED. If you have received this
communication in error, please immediately notify us by return e-mail or
telephone at the e-mail address or telephone number listed above and destroy
this transmission and any attachments without reading or saving in any
manner. Thank you


From: Robert McDonald <rmcdonald@qualityloan.com>
Sent: Monday, January 13, 2020 2:58 PM
To: Christina Henry <chenry@hdm‐legal.com>; John McIntosh <johnm@schweetlaw.com>; Lance Olsen
<LOlsen@McCarthyHolthus.com>
Cc: Ali Small <alis@schweetlaw.com>; Tom Linde <tomlinde@schweetlaw.com>; IDSFC <IDSFC@qualityloan.com>
Subject: RE: HOOVER | RE: SULEIMAN | RE: TS# WA‐18‐835092‐SW | RE: Sarah Hoover re stay violation for void
foreclosure

Christina

As I have stated several times now the sale was held and the Trustee’s Deed issued and delivered
to the third party purchaser before the Trustee was ever notified of the existence of the Hoover
bankruptcy. Had the debtor contacted the Trustee to advise she filed bankruptcy before the sale
was held, the sale would not have proceeded as the Trustee would have been able to identify the
filing. Had the debtor contacted the Trustee prior to the deed being executed and sent out by the
Trustee to the third party purchaser, the Trustee’s Deed would have been held and not issued. The
Trustee did advise the third party of the challenge, hence the lawsuit.

Generally speaking the debtor may not have a specific burden, when she choose to provide no
notice of the filing, files a bankruptcy with a social security number different from the social
security number in the Trustee’s records and then takes no effort to even comply with the orders
of the court to keep the case going, it is hard to see that theses issues would not be relevant. In
any event, all of these arguments can be made to the bankruptcy court and it can decide what is
appropriate. The Trustee took all steps to act in good faith but simply was not met with any
cooperation or consideration of the debtor / borrower as the evidence will establish before the
sale was held and Trustee’s Deed delivered.


                                                       2


      Case 20-04002-MJH         Doc 73-13     Filed 11/13/20     Ent. 11/13/20 21:51:27      Pg. 3 of 21
Robert W. McDonald | General Counsel



"Excellence Starts Here"

108 1st Avenue South, Suite 202
Seattle, WA 98104
d. 206.596.4862 | f. 206.274.4902 | c. 206.673.6523
rmcdonald@qualityloan.com

Your feedback is warmly welcomed and greatly appreciated! Please feel free to send us your suggestions,
comments, and/or concerns to QLSFeedback@qualityloan.com.

CONFIDENTIALITY NOTICE: The information contained herein may be privileged and protected by the
attorney/client and/or other privilege. It is confidential in nature and intended for use by the intended
                                                        3


      Case 20-04002-MJH          Doc 73-13     Filed 11/13/20     Ent. 11/13/20 21:51:27       Pg. 4 of 21
addressee only. If you are not the intended recipient, you are hereby expressly prohibited from dissemination
distribution, copy or any use whatsoever of this transmission and its contents. If you receive this transmission
in error, please reply or call the sender and arrangements will be made to retrieve the originals from you at no
charge. Federal law requires us to advise you that communication with our office could be interpreted as an
attempt to collect a debt and that any information obtained will be used for that purpose.

LEGAL DISCLAIMER: Please be advised that while the opinions expressed herein are provided by an
attorney employed by Quality Loan Service Corp. of Washington, Quality Loan Service Corp. of Washington
is not a law office. The legal analysis of any situation depends on a variety of factors and the opinions
expressed herein could change based on the specific facts of any given situation. The information and
opinions set forth herein are intended as general information only, and are not intended to serve as legal
advice or as a substitute for legal counsel. If you have a question about a specific factual situation, you
should contact an attorney directly.

From: Christina Henry <chenry@hdm‐legal.com>
Sent: Monday, January 13, 2020 2:31 PM
To: Robert McDonald <rmcdonald@qualityloan.com>; John McIntosh <johnm@schweetlaw.com>; Lance Olsen
<LOlsen@McCarthyHolthus.com>
Cc: Ali Small <alis@schweetlaw.com>; Tom Linde <tomlinde@schweetlaw.com>; IDSFC <IDSFC@qualityloan.com>
Subject: RE: HOOVER | RE: SULEIMAN | RE: TS# WA‐18‐835092‐SW | RE: Sarah Hoover re stay violation for void
foreclosure

Counsel,

Obviously I disagree with your assertions, but as just two points:

First, the trustee COULD have taken unilateral action, having had actual knowledge on the 11th
day after the sale. I believe the record indicates the trustee chose not to. In fact, based on IH6's
declaration, it appears the trustee did not even bother to tell the purchaser that it held a void
sale; IH6 first learned of this from my letter in November 2019.

Second, I worry that you confuse the burdens involved. My understanding is that the Ninth
Circuit's pronouncement has remained unchanged: "The Bankruptcy Code does not burden the
debtor with a duty to take additional steps to secure the benefit of the automatic stay. Those
taking post-petition collection actions have the burden of obtaining relief from the automatic
stay." In re Schwartz, 954 F.2d 569, 572 (9th Cir. 1992). Thus, to reiterate, it is not my client's
responsibility to fix this, although she will of course be happy to facilitate and be cooperative
where necessary.


Christina L. Henry, Attorney
Henry & DeGraaff, P.S.
787 Maynard Ave S
Seattle, Washington 98104
Tel 206/330-0595
Fax 206-400-7609
                                                        4


      Case 20-04002-MJH         Doc 73-13      Filed 11/13/20     Ent. 11/13/20 21:51:27      Pg. 5 of 21
chenry@HDM-legal.com


CONFIDENTIALITY NOTICE: This e-mail may contain information that is protected
by the attorney-client and/or the attorney-work product privilege. It is intended only for
the individual named above and the privileges are not waived by virtue of this having been
sent by e-mail. If you are not the intended recipient ANY USE, DISSEMINATION,
DISTRIBUTION OR COPYING OF THIS COMMUNICATION IS STRICTLY
PROHIBITED. If you have received this communication in error, please immediately
notify us by return e-mail or telephone at the e-mail address or telephone number listed
above and destroy this transmission and any attachments without reading or saving in any
manner. Thank you


From: Robert McDonald <rmcdonald@qualityloan.com>
Sent: Monday, January 13, 2020 12:37 PM
To: John McIntosh <johnm@schweetlaw.com>; Christina Henry <chenry@hdm‐legal.com>; Lance Olsen
<LOlsen@McCarthyHolthus.com>
Cc: Ali Small <alis@schweetlaw.com>; Tom Linde <tomlinde@schweetlaw.com>; IDSFC <IDSFC@qualityloan.com>
Subject: HOOVER | RE: SULEIMAN | RE: TS# WA‐18‐835092‐SW | RE: Sarah Hoover re stay violation for void foreclosure

John

Thank you. The Trustee agrees that this matter requires judicial intervention as that is the only
way that the parties can get a recorded trustee’s deed rescinded or confirm the finality of sale.
The Trustee has always supported judicial intervention as an option if necessary as the debtor’s
inaction and failure to provide timely notice of the filing of her bankruptcy prevented the
Trustee’s ability to take any unilateral action before the sale held and the Trustee’s Deed issued.
Because the debtor has continued to fail to act, the purchaser has been required to take action
and the Trustee will cooperate with the finding of the Court and offer completely truthful
testimony as to all facts.

Robert W. McDonald | General Counsel



"Excellence Starts Here"

108 1st Avenue South, Suite 202
Seattle, WA 98104
d. 206.596.4862 | f. 206.274.4902 | c. 206.673.6523
rmcdonald@qualityloan.com

Your feedback is warmly welcomed and greatly appreciated! Please feel free to send us your suggestions,
comments, and/or concerns to QLSFeedback@qualityloan.com.

                                                         5


       Case 20-04002-MJH         Doc 73-13      Filed 11/13/20     Ent. 11/13/20 21:51:27      Pg. 6 of 21
CONFIDENTIALITY NOTICE: The information contained herein may be privileged and protected by the
attorney/client and/or other privilege. It is confidential in nature and intended for use by the intended
addressee only. If you are not the intended recipient, you are hereby expressly prohibited from dissemination
distribution, copy or any use whatsoever of this transmission and its contents. If you receive this transmission
in error, please reply or call the sender and arrangements will be made to retrieve the originals from you at no
charge. Federal law requires us to advise you that communication with our office could be interpreted as an
attempt to collect a debt and that any information obtained will be used for that purpose.

LEGAL DISCLAIMER: Please be advised that while the opinions expressed herein are provided by an
attorney employed by Quality Loan Service Corp. of Washington, Quality Loan Service Corp. of Washington
is not a law office. The legal analysis of any situation depends on a variety of factors and the opinions
expressed herein could change based on the specific facts of any given situation. The information and
opinions set forth herein are intended as general information only, and are not intended to serve as legal
advice or as a substitute for legal counsel. If you have a question about a specific factual situation, you
should contact an attorney directly.

From: John McIntosh <johnm@schweetlaw.com>
Sent: Friday, January 10, 2020 4:36 PM
To: Christina Henry <chenry@hdm‐legal.com>; Robert McDonald <rmcdonald@qualityloan.com>; Lance Olsen
<LOlsen@McCarthyHolthus.com>
Cc: Ali Small <alis@schweetlaw.com>; Tom Linde <tomlinde@schweetlaw.com>
Subject: RE: Sarah Hoover re stay violation for void foreclosure

Attached are copies of the pleadings filed today in Ms. Hoover’s bankruptcy. Hard copies will be mailed to all parties.

Thanks,

John

John A. McIntosh, Attorney
Schweet Linde & Coulson, PLLC
575 S. Michigan Street
Seattle, Washington 98108
Direct dial: (206) 381-0118
Fax: (206) 381-0101
johnm@schweetlaw.com

This e-mail may contain confidential information which is legally privileged. The information is solely for the use of the
addressee named above. If you are not the intended recipient, any disclosure, copying, distribution or other use of the
contents of this information is strictly prohibited. If you have received this e-mail in error, please notify us by return e-mail
and delete this message. Thank you.

From: Joseph McIntosh <jmcintosh@McCarthyHolthus.com>
Sent: Thursday, January 9, 2020 10:27 AM
To: John McIntosh <johnm@schweetlaw.com>
Subject: FW: Sarah Hoover re stay violation for void foreclosure




                                                                6


       Case 20-04002-MJH             Doc 73-13        Filed 11/13/20        Ent. 11/13/20 21:51:27          Pg. 7 of 21
From: Christina Henry [mailto:chenry@hdm‐legal.com]
Sent: Thursday, January 09, 2020 10:16 AM
To: Robert McDonald <rmcdonald@qualityloan.com>; Lance Olsen <LOlsen@McCarthyHolthus.com>; Joseph McIntosh
<jmcintosh@McCarthyHolthus.com>
Subject: Sarah Hoover re stay violation for void foreclosure

Please see the attached letter that went out in the mail this morning regarding the matters with Sarah Hoover. I look
forward to your attention to is.

Christina L. Henry, Attorney
Henry & DeGraaff, P.S.
787 Maynard Ave S
Seattle, Washington 98104
Tel 206/330-0595
Fax 206-400-7609
chenry@HDM-legal.com



CONFIDENTIALITY NOTICE: This e-mail may contain information that is protected by the attorney-client and/or the attorney-
work product privilege. It is intended only for the individual named above and the privileges are not waived by virtue of this
having been sent by e-mail. If you are not the intended recipient ANY USE, DISSEMINATION, DISTRIBUTION OR COPYING OF
THIS COMMUNICATION IS STRICTLY PROHIBITED. If you have received this communication in error, please immediately
notify us by return e-mail or telephone at the e-mail address or telephone number listed above and destroy this transmission
and any attachments without reading or saving in any manner. Thank you




                                                              7


       Case 20-04002-MJH            Doc 73-13       Filed 11/13/20       Ent. 11/13/20 21:51:27          Pg. 8 of 21
Christina Henry

From:               Christina Henry
Sent:               Wednesday, December 18, 2019 10:50 AM
To:                 Robert McDonald
Cc:                 IDSFC; Jeffrey Stenman; Lance Olsen; Michael Lappano
Subject:            RE: SULEIMAN | RE: TS# WA-18-835092-SW



Rocky,
I have no agreement with the third party purchaser. In fact, from my perspective, the third party purchaser may
also have an action against PHH Mortgage and QLS for tendering a trustee’s deed on a void mortgage, not
giving them clear title, and not notifying them as to the defect when QLS learned unequivocally about the void
foreclosure on the 11th day, prior to the recording of the trustee’s deed and when it was still in the power of QLS
to easily fix this issue. So if you are asking Ms. Hoover to start communications with third party purchaser to
join forces in such a lawsuit, I assume that is an avenue we may pursue in the future, but for now, it is my
client’s position that she is not in a position to remedy this issue. I request yet again that you bring your contact
at PHH Mortgage into this discussion. Thank you.

Christina L. Henry, Attorney
Henry & DeGraaff, P.S.
787 Maynard Ave S
Seattle, Washington 98104
Tel 206/330-0595
Fax 206-400-7609
chenry@HDM-legal.com


CONFIDENTIALITY NOTICE: This e-mail may contain information that is protected by the attorney-
client and/or the attorney-work product privilege. It is intended only for the individual named above and
the privileges are not waived by virtue of this having been sent by e-mail. If you are not the intended
recipient ANY USE, DISSEMINATION, DISTRIBUTION OR COPYING OF THIS
COMMUNICATION IS STRICTLY PROHIBITED. If you have received this communication in error,
please immediately notify us by return e-mail or telephone at the e-mail address or telephone number
listed above and destroy this transmission and any attachments without reading or saving in any
manner. Thank you


From: Robert McDonald <rmcdonald@qualityloan.com>
Sent: Wednesday, December 18, 2019 10:42 AM
To: Christina Henry <chenry@hdm‐legal.com>
Cc: IDSFC <IDSFC@qualityloan.com>; Jeffrey Stenman <jstenman@qualityloan.com>; Lance Olsen
<LOlsen@McCarthyHolthus.com>; Michael Lappano <mlappano@invitationhomes.com>
Subject: RE: SULEIMAN | RE: TS# WA‐18‐835092‐SW

Christina

I believe you have misread my last email. On 11.27.19 I stated … “The Trustee has no reason to
believe that PHH will not cooperate with the request of your client to have the sale unwound.”
                                                          1


       Case 20-04002-MJH         Doc 73-13      Filed 11/13/20      Ent. 11/13/20 21:51:27       Pg. 9 of 21
Case 20-04002-MJH   Doc 73-13   Filed 11/13/20   Ent. 11/13/20 21:51:27   Pg. 10 of 21
CONFIDENTIALITY NOTICE: The information contained herein may be privileged and protected by the
attorney/client and/or other privilege. It is confidential in nature and intended for use by the intended
addressee only. If you are not the intended recipient, you are hereby expressly prohibited from dissemination
distribution, copy or any use whatsoever of this transmission and its contents. If you receive this transmission
in error, please reply or call the sender and arrangements will be made to retrieve the originals from you at no
charge. Federal law requires us to advise you that communication with our office could be interpreted as an
attempt to collect a debt and that any information obtained will be used for that purpose.

LEGAL DISCLAIMER: Please be advised that while the opinions expressed herein are provided by an
attorney employed by Quality Loan Service Corp. of Washington, Quality Loan Service Corp. of Washington
is not a law office. The legal analysis of any situation depends on a variety of factors and the opinions
expressed herein could change based on the specific facts of any given situation. The information and
opinions set forth herein are intended as general information only, and are not intended to serve as legal
advice or as a substitute for legal counsel. If you have a question about a specific factual situation, you
should contact an attorney directly.

From: Christina Henry <chenry@hdm‐legal.com>
Sent: Wednesday, December 18, 2019 9:48 AM
To: Robert McDonald <rmcdonald@qualityloan.com>
Cc: IDSFC <IDSFC@qualityloan.com>; Jeffrey Stenman <jstenman@qualityloan.com>; Lance Olsen
<LOlsen@McCarthyHolthus.com>; Michael Lappano <mlappano@invitationhomes.com>
Subject: RE: SULEIMAN | RE: TS# WA‐18‐835092‐SW

Rocky,

This is the first email you have indicated that you are in contact with PHH Mortgage Services.
Do they have separate counsel for this matter? I have not received any contact from anyone at
PHH Mortgage so far and I believe they need to be part of this discussion. We also have a
fundamental disagreement about the status of this VOID mortgage. It is not the Debtor’s
responsibility to remedy the discharge violation or to remedy a violation of the deed of trust act.
As Ms. Hoover’s attorney I am trying to engage all parties to put you on notice to remedy this
matter before she is forced to bring this before the court. However, as part of the due diligence
required, I insist that if you have made contact with PHH Mortgage Services, that their
attorneys be included in these discussions and that they contact me with their version of the
events here. I do believe that the Debtors and the third party purchaser have different interests
here.. and since the sale of a void foreclosure was caused by PHH Mortgage and QLS, it would
be up to you and PHH to come up with a solution that rescinds the mortgage and justly
compensates my client and/or the third party purchaser. To date I have not heard any adequate
resolution from you on this matter aside from sending us to court to file a lawsuit.


Christina L. Henry, Attorney
Henry & DeGraaff, P.S.
787 Maynard Ave S
Seattle, Washington 98104
Tel 206/330-0595
                                                        3


      Case 20-04002-MJH         Doc 73-13     Filed 11/13/20     Ent. 11/13/20 21:51:27      Pg. 11 of 21
Fax 206-400-7609
chenry@HDM-legal.com


CONFIDENTIALITY NOTICE: This e-mail may contain information that is protected
by the attorney-client and/or the attorney-work product privilege. It is intended only for
the individual named above and the privileges are not waived by virtue of this having been
sent by e-mail. If you are not the intended recipient ANY USE, DISSEMINATION,
DISTRIBUTION OR COPYING OF THIS COMMUNICATION IS STRICTLY
PROHIBITED. If you have received this communication in error, please immediately
notify us by return e-mail or telephone at the e-mail address or telephone number listed
above and destroy this transmission and any attachments without reading or saving in any
manner. Thank you


From: Robert McDonald <rmcdonald@qualityloan.com>
Sent: Tuesday, December 17, 2019 10:43 PM
To: Christina Henry <chenry@hdm‐legal.com>
Cc: IDSFC <IDSFC@qualityloan.com>; Jeffrey Stenman <jstenman@qualityloan.com>; Lance Olsen
<LOlsen@McCarthyHolthus.com>; michaellappano@invitationhomes.com
Subject: SULEIMAN | RE: TS# WA‐18‐835092‐SW

Christina

I am in receipt of your December 12, 2019 letter and wish to respond to your request to have
the Trustee’s Sale held rescinded by the Trustee. As this foreclosure sale was already held and
the Trustee’s Deed delivered when the Trustee was made aware of the Hoover bankruptcy filing
there was nothing the Trustee could do stop the issuance and delivery of the Trustee’s Deed
Upon Sale to the third party purchaser. To take any action concerning this requested rescission
all parties must agree to a resolution absent a Court Order. With the Deed being recorded it will
likely take a Court Order to have the recorded Deed invalidated and recognized by title. My
client has offered to assist twice with finding a resolution to this matter in the event your client
and the third party purchaser have agreed on a resolution or alternative to litigation. To date I
have not been advised that the parties have reached any such agreement. As I stated in my
previous message, I am very interested in final resolution as to this matter. Here the Trustee is
holding surplus funds that it wishes to deposit with the Court pursuant to RCW 61.24.080 –
however the Trustee is awaiting direction from the parties or the Court if litigation is ultimately
pursued before taking any further action in an attempt to keep the issue relatively simple and
straight forward. It is my understanding the third party purchaser is retaining counsel to address
this matter with the goal of seeking to reopen the Hoover matter to seek retroactive annulment
of the automatic stay to validate this foreclosure sale. I provide this information to confirm to
your office that the Trustee will of course follow and be bound by any Court Order issued


                                                       4


      Case 20-04002-MJH        Doc 73-13     Filed 11/13/20     Ent. 11/13/20 21:51:27       Pg. 12 of 21
concerning the validity of the sale held. Please let me know if you have any questions. Thank
you.

Robert W. McDonald | General Counsel



"Excellence Starts Here"

108 1st Avenue South, Suite 202
Seattle, WA 98104
d. 206.596.4862 | f. 206.274.4902 | c. 206.673.6523
rmcdonald@qualityloan.com

Your feedback is warmly welcomed and greatly appreciated! Please feel free to send us your suggestions,
comments, and/or concerns to QLSFeedback@qualityloan.com.

CONFIDENTIALITY NOTICE: The information contained herein may be privileged and protected by the
attorney/client and/or other privilege. It is confidential in nature and intended for use by the intended
addressee only. If you are not the intended recipient, you are hereby expressly prohibited from dissemination
distribution, copy or any use whatsoever of this transmission and its contents. If you receive this transmission
in error, please reply or call the sender and arrangements will be made to retrieve the originals from you at no
charge. Federal law requires us to advise you that communication with our office could be interpreted as an
attempt to collect a debt and that any information obtained will be used for that purpose.

LEGAL DISCLAIMER: Please be advised that while the opinions expressed herein are provided by an
attorney employed by Quality Loan Service Corp. of Washington, Quality Loan Service Corp. of Washington
is not a law office. The legal analysis of any situation depends on a variety of factors and the opinions
expressed herein could change based on the specific facts of any given situation. The information and
opinions set forth herein are intended as general information only, and are not intended to serve as legal
advice or as a substitute for legal counsel. If you have a question about a specific factual situation, you
should contact an attorney directly.

From: Robert McDonald
Sent: Monday, December 2, 2019 3:14 PM
To: 'Christina Henry' <chenry@hdm‐legal.com>
Cc: IDSFC <IDSFC@qualityloan.com>; Jeffrey Stenman <jstenman@qualityloan.com>; Lance Olsen
<LOlsen@McCarthyHolthus.com>; 'michaellappano@invitationhomes.com' <michaellappano@invitationhomes.com>
Subject: RE: SULEIMAN | RE: TS# WA‐18‐835092‐SW ‐ Notice of Automatic Stay Violation *CONFERENCE CALL
12.2.2019?*

Christina

Addressing the four issues identified in your most recent message and adding Mr. Lappano to
assist with creating a constructive dialogue.


                                                        5


      Case 20-04002-MJH         Doc 73-13     Filed 11/13/20     Ent. 11/13/20 21:51:27      Pg. 13 of 21
   1. The Trustee’s Deed Upon Sale was executed and issued to the third party purchaser an
      entire week before Ms. Hoover contacted the Trustee to inform that she had filed
      bankruptcy. The Deed had already been issued and delivered to the purchaser. The
      Trustee was unable to rescind the deed after issuance and delivery.
   2. It appears the that Ms. Hoover may have used an incorrect Social Security Number (“SSN”)
      when she filed her bankruptcy. The SSN in our file for her was searched for active
      bankruptcies both before the Trustee’s Sale was held and again after the sale and also
      before the TDUS was drafted, executed and delivered to the third party purchaser. Had
      she filed her bankruptcy with her correct SSN it is highly likely our internal systems would
      have automatically located the filed BK causing the Trustee’s Sale at a minimum to be
      postponed.
   3. Quality follows the Deed of Trust Act RCW 61.24 et al when advancing a non‐judicial
      foreclosure concerning a obligor or grantor who may be deceased. Ms. Hoover was
      provided notice of the sale as required by statute.
   4. The sale did generate surplus funds in the amount of $167,407.96, funds are typically
      deposited with the Court 45 days post dale with notice sent to all parties 60 days from
      the date of the sale held. Here based on the issued raised by Ms. Hoover and likelihood
      that all funds will need to returned to the third party purchaser, I have instructed the law
      firm handling the notice of deposit to hold the funds until the matter concerning the sale
      rescission is resolved. Should the sale be unwound, the surplus fund would be added to
      the funds required to be returned by PHH to the third party purchaser.

Robert W. McDonald | General Counsel



"Excellence Starts Here"

108 1st Avenue South, Suite 202
Seattle, WA 98104
d. 206.596.4862 | f. 206.274.4902 | c. 206.673.6523
rmcdonald@qualityloan.com

Your feedback is warmly welcomed and greatly appreciated! Please feel free to send us your suggestions,
comments, and/or concerns to QLSFeedback@qualityloan.com.

CONFIDENTIALITY NOTICE: The information contained herein may be privileged and protected by the
attorney/client and/or other privilege. It is confidential in nature and intended for use by the intended
addressee only. If you are not the intended recipient, you are hereby expressly prohibited from dissemination
distribution, copy or any use whatsoever of this transmission and its contents. If you receive this transmission
in error, please reply or call the sender and arrangements will be made to retrieve the originals from you at no
charge. Federal law requires us to advise you that communication with our office could be interpreted as an
attempt to collect a debt and that any information obtained will be used for that purpose.


                                                        6


      Case 20-04002-MJH         Doc 73-13     Filed 11/13/20     Ent. 11/13/20 21:51:27      Pg. 14 of 21
LEGAL DISCLAIMER: Please be advised that while the opinions expressed herein are provided by an
attorney employed by Quality Loan Service Corp. of Washington, Quality Loan Service Corp. of Washington
is not a law office. The legal analysis of any situation depends on a variety of factors and the opinions
expressed herein could change based on the specific facts of any given situation. The information and
opinions set forth herein are intended as general information only, and are not intended to serve as legal
advice or as a substitute for legal counsel. If you have a question about a specific factual situation, you
should contact an attorney directly.

From: Christina Henry <chenry@hdm‐legal.com>
Sent: Monday, December 2, 2019 12:41 PM
To: Robert McDonald <rmcdonald@qualityloan.com>
Cc: IDSFC <IDSFC@qualityloan.com>; Jeffrey Stenman <jstenman@qualityloan.com>; Lance Olsen
<LOlsen@McCarthyHolthus.com>
Subject: RE: SULEIMAN | RE: TS# WA‐18‐835092‐SW ‐ Notice of Automatic Stay Violation *CONFERENCE CALL
12.2.2019?*

Rocky,

We are in contact with the third party purchaser and have communicated with Michael Lappano
from Invitation Homes; they were served with the same letter sent to you on November
26th. We also mailed the letter to PHH Mortgage and US Bank, but we would appreciate any
assistance you could give to make sure your contact for the foreclosure receives my letter
(directly from you if possible). Our goal is, of course, to notify everyone of the issues regarding
this void foreclosure sale as soon as possible.

As to your other issues: Aside from the issue that the foreclosure sale was void, RCW
61.24.050(2) plainly allows the trustee to declare the trustee’s sale and trustee’s deed of trust
void (up to the eleventh day following the trustee’s sale). You have acknowledged that you had
actual knowledge of Ms. Hoover’s bankruptcy filing on 9/24/2019. Since the foreclosure took
place on 9/13/2019, this also acknowledges that you had actual knowledge of the bankruptcy
within the statutory time period which would have permitted voiding or rescinding the sale, and
yet you did nothing to void the sale. Given that statutory provision, I am not sure why, as the
trustee, you would send a trustee’s deed (in any foreclosure, not just this one) to the buyer
before the twelfth day following a foreclosure sale, but especially in a situation where you knew
that Mr. Suleiman was deceased and his heir was residing in the property.

You also mentioned that Ms. Hoover used a different Social Security number, but I am not sure
what you mean - do you mean that hers differed from her father's? Ms. Hoover was in contact
with PHH Mortgage Services prior to the bankruptcy in an attempt to obtain a loan modification
and/or an assumption of the mortgage, and as part of that process sent them her tax returns
and loan modification applications that included her Social Security number. Other than that, I
have no information why you have the wrong Social Security number, because Ms. Hoover has
certainly informed PHH Mortgage of the correct number on numerous occasions and spread over
numerous documents.

Lastly, I am not sure what kind of process Quality Loan Servicing goes through for a foreclosure
where the borrower was deceased, but in this case, when Mr. Suleiman died, his estate was
assigned a personal representative (as would be expected) and the properties were in a trust
with Ms. Hoover as the beneficiary. PHH Mortgage was given all this information, but it is also
filed as a matter of public record in King County Superior Court. I have attached the relevant
documents for your review, but I would also assume the Trustee would have done due diligence
                                                       7


         Case 20-04002-MJH     Doc 73-13     Filed 11/13/20     Ent. 11/13/20 21:51:27      Pg. 15 of 21
prior to moving for foreclosure and at the very least would have known that there was a
personal representative and how to contact her.

One last thing.. my client has received no notice of surplus funds and from the trustee’s deed it
appears that they were quite substantial.


Christina L. Henry, Attorney
Henry & DeGraaff, P.S.
787 Maynard Ave S.
Seattle, Washington 98104
Tel 206/330-0595
Fax 206-400-7609
chenry@HDM-legal.com



CONFIDENTIALITY NOTICE: This e-mail may contain information that is protected by the attorney-client and/or the attorney-
work product privilege. It is intended only for the individual named above and the privileges are not waived by virtue of this
having been sent by e-mail. If you are not the intended recipient ANY USE, DISSEMINATION, DISTRIBUTION OR COPYING OF
THIS COMMUNICATION IS STRICTLY PROHIBITED. If you have received this communication in error, please immediately
notify us by return e-mail or telephone at the e-mail address or telephone number listed above and destroy this transmission
and any attachments without reading or saving in any manner. Thank you


From: Robert McDonald <rmcdonald@qualityloan.com>
Sent: Wednesday, November 27, 2019 3:13 PM
To: Christina Henry <chenry@hdm‐legal.com>
Cc: IDSFC <IDSFC@qualityloan.com>; Jeffrey Stenman <jstenman@qualityloan.com>; Lance Olsen
<LOlsen@McCarthyHolthus.com>
Subject: SULEIMAN | RE: TS# WA‐18‐835092‐SW ‐ Notice of Automatic Stay Violation *CONFERENCE CALL 12.2.2019?*

Christina

As I wrote in my response yesterday afternoon I am willing to assist, and you have the
cooperation of the Trustee, however we must also include the third party purchaser and the
loan servicer/beneficiary in your request as the Trustee is unable to take unilateral action to
resolve the issues presented. Please note when the Trustee was made aware of the Hoover
bankruptcy filed, the Trustee’s Sale had already been held, the Trustee’s Deed had already been
drafted, already been executed and already sent to the third party purchaser. I cannot speak to
if the third party purchaser also may have already as of 9.24.2019 sent his Trustee’s Deed to
record with the Auditor; but what I do know is the Trustee was not in physical possession of the
deed on 9.24.2019 and the Trustee had no ability or opportunity to stop the Trustee’s Deed
from being issued and or recorded by the third party purchaser. Also of importance and note,
Ms. Hoover is neither the obligor under the subject note or grantor under the instant deed of
trust. Although the Trustee honored her request for a reinstatement quote pre‐sale, nothing to
date has been provided to the Trustee to indicate or support the position that Ms. Hoover has
a legal interest or equitable interest in the subject property. The Trustee does not at this time
concur in your blanket assessment the Trustee’s Sale was “done in violation of the automatic
stay.” As stated, the Trustee acknowledges the bankruptcy filed, however without
documentation supporting Ms. Hoover has a defined legal or equitable interest in the subject
property the Trustee is not in a position to reach a conclusion as to that legal determination.
                                                              8


       Case 20-04002-MJH           Doc 73-13       Filed 11/13/20       Ent. 11/13/20 21:51:27          Pg. 16 of 21
To understand how the parties arrived where they find themselves today, I must ask what
actions do you believe Quality could have taken after being noticed of the bankruptcy to address
the alleged violation? This matter was also complicated by the issue of different social security
numbers used by Ms. Hoover. The beneficiary’s file contains the SSN for Ms. Hoover of
8882, which is the SSN I have verified through LexisNexis as belonging to Sarah V Hoover, her
Court pleading indicate the last four digits match, however when I run a manual search in Pacer
for her full and correct SSN – nothing populates as an associated case for that SSN. Can you
please review with your client and advise as to why this may be the case? Any explanation as to
if she used a different SSN may help explain why the BANKO searches ran on this file (ever 24
hours by the Trustee) yielded no hits as to an applicable active bankruptcy and stay. If we can
confirm she did use her correct SSN that would also be helpful to assist the Trustee in identifying
and isolating in its systems why it [Quality] was unable to self‐identify this bankruptcy prior to
the Trustee’s Sale held. I am very interested in getting the bottom of this issue as I want to
ensure any issues on this file are isolated to this file.




Addressing next steps, have you contacted the third party purchaser to discuss having the sale
unwound? If not you will need to do that as soon as possible. The Trustee has no reason to
believe that PHH will not cooperate with the request of your client to have the sale unwound.
In the spirit of cooperation and working towards a resolution, I ask you to contact the third party
purchaser and obtain their position as to your request to have the sale unwound. You may also
want to ask them to delay the filing of any potential unlawful detainer action until this matter
has been resolved. I ask this of your client as based on the above it is your client’s failure to
provide notice to the Trustee of the bankruptcy filed, possible failure to file her bankruptcy with
her correct SSN and failure to timely act since the sale was held that has placed the parties in
the position that they find themselves in today. While the Trustee is certainly ready and able to
help, your client must also assume some responsibility and assist with the solution as it is her
failures that are the reason that the parties find themselves in the instant situation. I
recommend setting up a conference call with the third party purchaser, trustee and your office
on Monday 12.2.2019 to fully discuss the position of the parties in an attempt to reach an agreed
resolution short of litigation. Please let me know if you have any availability for a call Monday
and if so when. Thank you and have a happy holiday.
                                                 9


     Case 20-04002-MJH      Doc 73-13   Filed 11/13/20   Ent. 11/13/20 21:51:27   Pg. 17 of 21
Robert W. McDonald | General Counsel



"Excellence Starts Here"

108 1st Avenue South, Suite 202
Seattle, WA 98104
d. 206.596.4862 | f. 206.274.4902 | c. 206.673.6523
rmcdonald@qualityloan.com

Your feedback is warmly welcomed and greatly appreciated! Please feel free to send us your suggestions,
comments, and/or concerns to QLSFeedback@qualityloan.com.

CONFIDENTIALITY NOTICE: The information contained herein may be privileged and protected by the
attorney/client and/or other privilege. It is confidential in nature and intended for use by the intended
addressee only. If you are not the intended recipient, you are hereby expressly prohibited from dissemination
distribution, copy or any use whatsoever of this transmission and its contents. If you receive this transmission
in error, please reply or call the sender and arrangements will be made to retrieve the originals from you at no
charge. Federal law requires us to advise you that communication with our office could be interpreted as an
attempt to collect a debt and that any information obtained will be used for that purpose.

LEGAL DISCLAIMER: Please be advised that while the opinions expressed herein are provided by an
attorney employed by Quality Loan Service Corp. of Washington, Quality Loan Service Corp. of Washington
is not a law office. The legal analysis of any situation depends on a variety of factors and the opinions
expressed herein could change based on the specific facts of any given situation. The information and
opinions set forth herein are intended as general information only, and are not intended to serve as legal
advice or as a substitute for legal counsel. If you have a question about a specific factual situation, you
should contact an attorney directly.

From: Christina Henry <chenry@hdm‐legal.com>
Sent: Wednesday, November 27, 2019 8:59 AM
To: Robert McDonald <rmcdonald@qualityloan.com>; Lance Olsen <LOlsen@McCarthyHolthus.com>
Cc: IDSFC <IDSFC@qualityloan.com>; Jeffrey Stenman <jstenman@qualityloan.com>
Subject: RE: SULEIMAN | RE: TS# WA‐18‐835092‐SW ‐ Notice of Automatic Stay Violation

Rocky,

I understand the issues you are raising here but it does not change the fact that actions done in violation of the
automatic stay are void. In re Schwartz, 954 F.2d 569 (9th Cir. 1992). It also does not change the fact that, as
detailed in the letter, PHH knew about the bankruptcy filing. Additionally, as you acknowledge in your email
below, you knew that Mr. Suleiman was deceased and at least by September 24, 2019 you knew that the sale
was done in violation of the automatic stay and yet you did nothing even though the trustee’s deed was not filed
and recorded until September 26, 2019. As I am sure you aware, you have an affirmative duty to conform to the
automatic stay. Sternberg v. Johnston, 595 F.3d 937, 942 (9th Cir. 2010). Lastly, I will also note that Sundquist
v. Bank of America, 566 B.R. 563, 577 (Bankr. E.D. CA 2017) includes similar facts regarding notice of the
bankruptcy filing and is instructive on this point. In that case the court noted the following:

                                                        10


      Case 20-04002-MJH         Doc 73-13     Filed 11/13/20     Ent. 11/13/20 21:51:27       Pg. 18 of 21
“Case law in this circuit establishes that all acts in violation of the stay are void from the outset, not merely
voidable. E.g., Schwartz, 954 F.2d at 572-73. Similarly, subsequent dismissal of a case does not ratify an act
that was void from the outset. 40235 Washington St. Corp., 329 F.3d at 1080 n.2. And, liability continues until a
stay violation has been corrected. Snowden, 769 F.3d at 659 & 662.”

With these cases in mind, the stay violation remains, there has been a failure to remedy it, and the violation is
continuing. At this time I request that you notify PHH Mortgage about this matter and seek counsel as to how
to resolve the matter. Lastly, Ms. Hoover has been threatened with eviction as of December 1, 2019 so this issue
is time sensitive.


Christina L. Henry, Attorney
Henry & DeGraaff, P.S.
787 Maynard Ave S.
Seattle, Washington 98104
Tel 206/330-0595
Fax 206-400-7609
chenry@HDM-legal.com



CONFIDENTIALITY NOTICE: This e-mail may contain information that is protected by the attorney-client and/or the attorney-
work product privilege. It is intended only for the individual named above and the privileges are not waived by virtue of this
having been sent by e-mail. If you are not the intended recipient ANY USE, DISSEMINATION, DISTRIBUTION OR COPYING OF
THIS COMMUNICATION IS STRICTLY PROHIBITED. If you have received this communication in error, please immediately
notify us by return e-mail or telephone at the e-mail address or telephone number listed above and destroy this transmission
and any attachments without reading or saving in any manner. Thank you


From: Robert McDonald <rmcdonald@qualityloan.com>
Sent: Tuesday, November 26, 2019 5:27 PM
To: Christina Henry <chenry@hdm‐legal.com>; Lance Olsen <LOlsen@McCarthyHolthus.com>
Cc: IDSFC <IDSFC@qualityloan.com>; Jeffrey Stenman <jstenman@qualityloan.com>
Subject: SULEIMAN | RE: TS# WA‐18‐835092‐SW ‐ Notice of Automatic Stay Violation

Christina

Thank you for your letter. On this file SULEIMAN – the Trustee was in communication with Ms.
Hoover prior to the Trustee’s Sale held 9.13.2019. I personally spoke with her on 8.14.2019 and
discussed a variety of foreclosure alternatives including, loan assumption, loss mitigation and
reinstatement. My system notes also indicate I advised her to contact a lawyer with any
questions (she may have) to assist with foreclosure avoidance. Following my call with Ms.
Hoover on 8.14.2019, she requested a reinstatement quote. On 9.4.2019 an updated RIQ was
issued to her via email. See attached email referencing RIQ Release.

As the sale held 9.13.2019 and the issue of notice of the bankruptcy filed. The Trustee was first
altered to filing of the bankruptcy after the Trustee’s Sale was held and Trustee’s Deed upon
Sale issued on 9.17.2019. See Email dated 9.24.2019 indicating notice of BK to Trustee 9.24.2019
and Hoover VM to Robert McDonald dated 10.10.2019 – referencing call “last week.” Your letter
indicates “After discovering that her home had been sold via a nonjudicial foreclosure sale on
September 13, 2019, Ms. Hoover contacted Robert McDonald at Quality Loan Service Corp.
shortly after the sale to inquire about how to rescind the foreclosure sale, because it took place
                                                              11


       Case 20-04002-MJH           Doc 73-13       Filed 11/13/20       Ent. 11/13/20 21:51:27          Pg. 19 of 21
after her bankruptcy filing.” Although “shortly” after the sale is referenced in your letter – that
period of time is undefined, the Trustee’s file does not log a call between 9.13.2019 and
9.24.2019 on this file or show any such communication until after the above date of September
24, 2019 which the Trustee first received notice of a bankruptcy filed.

As referenced in the 9.24.2019 Trustee’s email to the Trustee’s bankruptcy counsel (provided
under limited condition that attorney client privilege continues to be asserted and is not
waived), the Trustee’s automatic BANKO searches for interested parties on this loan yielded no
hits for Ms. Hoover’s filing pre or post sale Trustee’s Sale – essentially the Trustee was placed
on notice of the bankruptcy when alerted by Ms. Hoover on 9.24.2019. The Trustee believes
that a reason why the automatic bankruptcy searches did not identify the bankruptcy filing in
question could be if Ms. Hoover did not file her bankruptcy case with the same social security
number referenced in the beneficiary’s system. If so, here would have been no way to identify
the bankruptcy filed absent contacting the Trustee prior to sale or issuance of the Trustee’s
Deed. The Trustee also has no information or supporting documentation that the loan servicer
or beneficiary was provided notice of Ms. Hoover’s bankruptcy pre Trustee’s Sale other than the
information provided in your instant letter.

Bottom‐line, the Trustee was not aware of any active bankruptcy filing by Ms. Hoover until after
the sale in question was held and third party deed issued. If the Trustee would have been
noticed pre foreclosure, the Trustee’s Sale would at a minimum be postponed under RCW
61.24.040(10) if not cancelled. The Trustee is more than happy to cooperate with your request
to assist with sale’s rescission; however the Trustee alone cannot invalidate the sale held at this
time as the Deed has recorded. Should the interested parties which would include Ms. Hoover,
the third party purchaser and the beneficiary all agree to have the sale invalidated, the Trustee
will of course also agree and will even draft the rescission instruments for all parties to sign.
Please let me know how you wish to proceed and how I can assist.

Robert W. McDonald | General Counsel



"Excellence Starts Here"

108 1st Avenue South, Suite 202
Seattle, WA 98104
d. 206.596.4862 | f. 206.274.4902 | c. 206.673.6523
rmcdonald@qualityloan.com

Your feedback is warmly welcomed and greatly appreciated! Please feel free to send us your suggestions,
comments, and/or concerns to QLSFeedback@qualityloan.com.

CONFIDENTIALITY NOTICE: The information contained herein may be privileged and protected by the
attorney/client and/or other privilege. It is confidential in nature and intended for use by the intended
                                                        12


      Case 20-04002-MJH         Doc 73-13      Filed 11/13/20     Ent. 11/13/20 21:51:27      Pg. 20 of 21
addressee only. If you are not the intended recipient, you are hereby expressly prohibited from dissemination
distribution, copy or any use whatsoever of this transmission and its contents. If you receive this transmission
in error, please reply or call the sender and arrangements will be made to retrieve the originals from you at no
charge. Federal law requires us to advise you that communication with our office could be interpreted as an
attempt to collect a debt and that any information obtained will be used for that purpose.

LEGAL DISCLAIMER: Please be advised that while the opinions expressed herein are provided by an
attorney employed by Quality Loan Service Corp. of Washington, Quality Loan Service Corp. of Washington
is not a law office. The legal analysis of any situation depends on a variety of factors and the opinions
expressed herein could change based on the specific facts of any given situation. The information and
opinions set forth herein are intended as general information only, and are not intended to serve as legal
advice or as a substitute for legal counsel. If you have a question about a specific factual situation, you
should contact an attorney directly.

From: Christina Henry <chenry@hdm‐legal.com>
Sent: Tuesday, November 26, 2019 3:50 PM
To: Robert McDonald <rmcdonald@qualityloan.com>; Lance Olsen <LOlsen@McCarthyHolthus.com>
Subject: TS# WA‐18‐835092‐SW ‐ Notice of Automatic Stay Violation

Rocky and Lance,

Please see the attached letter sent on behalf of my client Sarah Hoover regarding an automatic stay violation for the
nonjudicial foreclosure sale that occurred on September 13, 2019. I look forward to discussing the matter with both of
you.

You will also receive the letter by mail and by fax to Rocky.

Christina L. Henry, Attorney
Henry & DeGraaff, P.S.
787 Maynard Ave S.
Seattle, Washington 98104
Tel 206/330-0595
Fax 206-400-7609
chenry@HDM-legal.com



CONFIDENTIALITY NOTICE: This e-mail may contain information that is protected by the attorney-client and/or the attorney-
work product privilege. It is intended only for the individual named above and the privileges are not waived by virtue of this
having been sent by e-mail. If you are not the intended recipient ANY USE, DISSEMINATION, DISTRIBUTION OR COPYING OF
THIS COMMUNICATION IS STRICTLY PROHIBITED. If you have received this communication in error, please immediately
notify us by return e-mail or telephone at the e-mail address or telephone number listed above and destroy this transmission
and any attachments without reading or saving in any manner. Thank you




                                                                13


       Case 20-04002-MJH           Doc 73-13       Filed 11/13/20       Ent. 11/13/20 21:51:27          Pg. 21 of 21
